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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


JOHN DOE,                                            §
                    Plaintiff                        §
                                                     §                SA-22-CV-01359-XR
-vs-                                                 §
                                                     §
UNIVERSITY OF TEXAS AT SAN                           §
ANTONIO,                                             §
             Defendant                               §



                                             ORDER

       Though Plaintiff Chih-Kai Liao has failed to explicitly respond to the Court’s Order to

Show Cause (ECF No. 22) regarding his failure to name himself by the appropriate deadline, the

Court recognizes that Plaintiff attached a new Third Amended Complaint naming Plaintiff Chih-

Kai Lao in the caption as an Exhibit to his Response to Defendant’s Motion to Dismiss Plaintiff’s

Third Amended Complaint (ECF No. 25-4). Given that the Third Amended Complaint (ECF No.

20) and the Exhibit (ECF No. 25-4) only differ in so far as the Plaintiff naming himself, the Court

will permit Plaintiff to replace his current Third Amended Complaint with the Exhibit to Plaintiff’s

Response to Defendant’s Motion to Dismiss.

       The Clerk is thus DIRECTED to substitute the Exhibit (ECF 25-4) in place of Plaintiff’s

current Third Amended Complaint (ECF No. 20). This Order will not moot Defendant’s currently

pending Motion to Dismiss Plaintiff’s Third Amended Complaint (ECF No. 21).




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It is so ORDERED.

SIGNED this 14th day of September, 2023.



                                  _________________________________
                                  XAVIER RODRIGUEZ
                                  UNITED STATES DISTRICT JUDGE




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